
996 So.2d 1113 (2008)
Deborah A. PUGH, Individually and as Natural Tutrix on Behalf of Her Minor Son, Blaine Pugh
v.
ST. TAMMANY PARISH SCHOOL BOARD, Steven R. Tresch, Sr. and Camille Ann Jacobson Tresch, Individually and as Parents of the Minor, Steven R. Tresch, Jr., and Steven R. Tresch, Jr., Individually; Mr. &amp; Mrs. Cook, Individually and as Parents of the Minor, Corey Cook, and Corey Cook, Individually, Coregis Insurance Company, Unknown Insurance Company A, Unknown Insurance Company B, Unknown Insurance Company C.
No. 2008-C-2316.
Supreme Court of Louisiana.
November 21, 2008.
Denied.
VICTORY, J., would grant.
